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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION

JON J. ABLES                                                                             PLAINTIFF

v.                                                                             No. 4:20CV154-RP

MEDICAL DIRECTOR WILLIE KNIGHTEN
CNP ANGELA BROWN
HEAD NURSE VICKY THOMAS
CENTURION OF MS, LLC                                                               DEFENDANTS


                                      FINAL JUDGMENT

       In accordance with the memorandum opinion entered this day, the instant case is

DISMISSED with prejudice for failure to state a claim upon which relief could be granted, counting

as a “STRIKE” under 28 U.S.C. § 1915(g).

       SO ORDERED, this, the 5th day of November, 2020.


                                                     /s/ Roy Percy
                                                     UNITED STATES MAGISTRATE JUDGE
